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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


                                                 )
SARAH KATHERINE NAUMES,                          )
       Plaintiff,                                )
                                                 )
       v.                                        )    Civil Action No. 21-1670 (JEB)
                                                 )
DEPARTMENT OF THE ARMY,                          )
       Defendant.                                )



     PLAINTIFF’S MOTION FOR REASONABLE ATTORNEY FEES AND COSTS

        Plaintiff moves the Court for an award of attorney fees and expenses pursuant to the

Freedom of Information Act (“FOIA”), 5 U.S.C. § 552(a)(4)(E) and further requests an Order

requiring Defendant to pay Plaintiff’s reasonable attorney fees on the merits in the amount of

$94,337.45, for fees to prepare this Motion and its attachments in the amount of $24,924.10 and

for other litigation costs reasonably incurred in the amount of $428.15, for a total award of

$119,689.70.

       This Motion is supported by the Fourth Declaration of Sarah Katherine Naumes, attached

as Exhibit A, the Declaration of C. Peter Sorenson, attached as Exhibit B and all additional

Exhibits, the attached Plaintiff’s Memorandum of Points and Authorities in Support of Plaintiff’s

Motion for Attorney Fees and Other Litigation Costs, and all other attachments to this Motion

and above entitled documents and the entire record before the Court. A proposed Order is also

attached.
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       Through counsel of record, Plaintiff has conferred with Defendant prior to the filing of

this Motion. Defendant has expressed no position, at this time, on this Motion.


DATED this 10th day of February, 2023.


Respectfully submitted,


/s/ C. Peter Sorenson

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